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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

2012 DYNASTY UC LLC; FLINN
INVESTMENTS, LLC; LAWRENCE
FLINN, JR. 1975 TRUST FBO ADRIANE
S. FLINN; LAWRENCE FLINN, JR. 1975
TRUST FBO LAWRENCE FL[NN 111;
LFJR 2010 GRAT REl\/IAINDER TRUST;
LFJR 2012 DYNASTY LLC - SERIES A;
LAWRENCE FLINN, JR. 1975 TRUST
FBO MARION FLINN MOULTON;
STEPHANIE AND LAWRENCE FLINN,
JR. CHARITABLE TRUST; and
STEPHANIE S. FLINN MASTER Civil Action No. 18-08595 (MAS) (LHG)
PARTNERSHIP,

Pfaintiffs,
v.

VALEANT PHARMACEUTICALS
INTERNATIONAL, INC.; J. MICHAEL
PEARSON; HOWARD B. SCHILLER;
ROBERT L. ROSIELLO; TANYA CARRO;
and PRICEWATERHOUSECOOPERS,

 

 

Det`endants.
STIPULATION AND URDER

WHEREAS, Plaintiffs in the above-captioned action have filed a Complaint against
Va|eant Phannaceuticals International, Inc., J. Michael Pearson, Howard B. Schiller, Robert L.
Rosiei|o, Tanya Carro, and PricewaterhouseCoopers LLP (together, “Defendants,” and together
With Plaintit`fs, the “Parties");

WHEREAS, counsel for Def`endants have agreed to accept service ofthe Complaint;

IT IS HEREBY STIPULATED AND AGREED, by the undersigned counsel on behalf of

the Palties, that:

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(a) Defendants" Motions to Dismiss dated December 6_. 2017. filed in Lord
Abbctt Investment Tru.sf - LordAbbett Short Duraf:'on lncome Fund, er al v. Valeam
Pharmaceut:'cals Internatic)nal, Inc., et al., No. 17-cv-6365 (MAS) (LHG) (the "Lord Abbet!
Action”) (Dkt. Nos. 58-62) (the "Lord Abbett Motions to Dismiss"), and the subsequent omnibus
briefing filed by the Parties in the LordAbbetr Action (Dkt. Nos. 83 -84, 99-102) shall be deemed
to apply to the claims brought by the Plaintift`s;

(b) The Court’s disposition ofthe Lord Abbett Motions to Dismiss shall be
deemed to apply to the claims brought by the Plaintift`s and the Parties in the above-captioned
aCtion;

(c) Any grounds for dismissal not raised in the Lord Abbett Motions to
Dismiss may be raised in supplemental briefing in this action (the "Supplemental l\/Iotions to
Dismiss”), with any such opening briefs due June 15, 2018, briefs in opposition due .luly 13,
2018, and any reply briefs due July 27, 2018; and

(d) Det`endants will answer the Complaint within 45 days ofthe termination
of the stay, or within 45 days ofthe resolution ofthe Lord Abbett Motions to Dismiss and the
Supp|emental Motions to Dismiss, whichever is later.

Stipulated and agreed to by:

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DATED: .Iune 4, 2018

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So Qrdered this__$:__day

 

